          Case 1:09-cr-03601-MV Document 70 Filed 09/13/19 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                          CR No. 09-3601-MV

NICHOLOUS PHILLIPS,

               Defendant.


                 ORDER FOR NEUROPSYCHOLOGICAL EVALUATION

       THIS MATTER is before the Court pursuant to a hearing on a Petition for revocation of

supervised release held on September 3, 2019. Multiple facts were brought to the Court’s

attention concerning the defendant’s personal, mental and substance abuse history that the Court

finds require further investigation through a comprehensive neuropsychological evaluation of the

defendant to assist the Court and Probation in determining how best to help Defendant and

provide him with the services he needs during supervised release.

               WHEREFORE, IT IS HEREBY ORDERED that Defendant shall submit to a

comprehensive neuropsychological evaluation. The evaluation shall include, but is not limited

to, a review of defendant’s prior hospitalizations and any other assessments and evaluations he

may have previously completed. Dr. Rex Jung shall conduct the evaluation while Defendant is

in custody and prepare a written report for the Court, which shall be provided to all parties.
          Case 1:09-cr-03601-MV Document 70 Filed 09/13/19 Page 2 of 2




       IT IS FURTHER ORDERED that the costs of the evaluation shall be paid by the

Department of Justice pursuant to the Guide to Judiciary Policies and Procedures, Defender

Services §320.20.20(b).

       DATED this 13th day of September, 2019.



                                    _______________________________________
                                    MARTHA VAZQUEZ
                                    UNITED STATES DISTRICT JUDGE



AUSA Norman Cairns
Attorney for Plaintiff

David Ring
Attorney for Defendant
